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                                   3                                    UNITED STATES DISTRICT COURT

                                   4                                   NORTHERN DISTRICT OF CALIFORNIA

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                                   6     FEDERAL TRADE COMMISSION,                          Case No. 3:23-cv-02880-JSC
                                                          Plaintiff,
                                   7
                                                                                            ORDER RE: PUBLIC VERSIONS OF
                                                   v.                                       TRIAL EXHIBITS
                                   8

                                   9     MICROSOFT CORPORATION, et al.,
                                                          Defendants.
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                                  12             On September 7, 2023, the Court issued an order resolving all remaining sealing issues
Northern District of California
 United States District Court




                                  13   with respect to the trial exhibits in this matter. (Dkt. No. 357.) The Court ordered the parties to

                                  14   meet and confer and provide the Court with a secure cloud link to the admitted exhibits with the

                                  15   redactions set forth in the Court’s orders. Microsoft provided the link on September 14 and the

                                  16   Court uploaded the exhibits to internet page established for this case.

                                  17   https://www.cand.uscourts.gov/ftc-v-microsoft_corp_et_al/. The parties have notified the Court

                                  18   that the version of the exhibits provided contained non-public information and the Court has

                                  19   removed the trial exhibits from the internet. The parties shall meet and confer, including with any

                                  20   non-parties, and resubmit the admitted trial exhibits via a secure cloud link by September 22,

                                  21   2023. The parties shall simultaneously file a written certification signed by all parties, and non-

                                  22   parties whose information is contained in the admitted trial exhibits, verifying they have reviewed

                                  23   the exhibits and certify they contain only public information in accordance with the Court’s

                                  24   orders.

                                  25             IT IS SO ORDERED.

                                  26   Dated: September 19, 2023

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                                                                                                    JACQUELINE SCOTT CORLEY
                                  28                                                                United States District Judge
